         Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 1 of 26



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Counsel for Plaintiffs and the Putative Classes

                       IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

 BRIAN THOMPSON, individually, and on             Civil Action No.
 behalf of all others similarly situated

 and

 ANGELA THOMPSON, individually, and
 on behalf of all others similarly situated
                                                  CLASS ACTION COMPLAINT FOR
        Plaintiffs,                               DAMAGES

        v.                                        JURY DEMAND ENDORSED HEREIN

 FLUENT, INC.
 ℅ National Registered Agents, Inc.
 Registered Agent
 160 GreenTree Drive, Suite 101
 Dover, DE 19904

 and

 REWARD ZONE USA, LLC
 ℅ The Corporation Trust Company
 Registered Agent
 Corporation Trust Center
 1209 Orange Street
 Wilmington, DE 12801

        Defendants.
             Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 2 of 26



        Plaintiffs BRIAN THOMPSON and ANGELA THOMPSON, individually, and on behalf

of all others similarly situated (“Plaintiffs”) for their Class Action Complaint against Defendants

FLUENT, INC. and REWARD ZONE USA, LLC (collectively, “Defendants”), allege, based upon

personal knowledge with respect to themselves and on information and belief derived from, among

other things, investigation of counsel and review of public documents as to all other matters, as

follows:

                           PARTIES, JURISDICTION, AND VENUE

        1.       Plaintiff Brian Thompson (“Mr. Thompson”) is a natural person with a principal

place of residence located in Cuyahoga County, Ohio.

        2.       Plaintiff Angela Thompson (“Ms. Thompson”) is a natural person with a principal

place of residence located in Cuyahoga County, Ohio.

        3.       Defendant Fluent, Inc. (“Fluent”) is a Delaware corporation with its principal place

of business at 300 Vesey Street, 9th Floor, New York, New York 10282.

        4.       Defendant Reward Zone USA, LLC (“Reward Zone”) is a Delaware limited

liability company with its principal place of business at 128 Court Street, 3rd Floor, White Plains,

New York 10601. Fluent owns 100% of Reward Zone and, therefore, Reward Zone is a citizen of

Delaware and New York.

        5.       This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §

1331, as the action arises under the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §

227. This Court has personal jurisdiction over Defendants because they maintain their principal

places of business in this District, and they conducted a significant amount of business in this

District, solicited consumers in this District, and continue to engage in the complained of activity

within this District.




                                                  2
            Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 3 of 26



      6.        Venue is proper in this District under 28 U.S.C. § 1391(b)(1) because each

Defendant resides in this District and this Court has personal jurisdiction over each Defendant.

                                INTRODUCTION TO CLAIMS

       7.       This is a TCPA consumer class action alleging violations of the prohibition on the

use of automatic telephone dialing systems (“ATDS”) without the prior consent of the called party

and violations of the prohibition on making telemarketing phone calls to phone numbers listed on

the National Do Not Call Registry without the prior consent of the called party.

       8.       Robotexts Outlawed: Enacted in 1991, the TCPA makes it unlawful “to make any

call (other than a call made for emergency purposes or made with the prior express consent of the

called party) using an automatic telephone dialing system or an artificial or prerecorded

voice . . . to any telephone number assigned to a . . . cellular telephone service.” 47 U.S.C. §

227(b)(1). Encouraging individuals to hold robocallers accountable on behalf on their fellow

Americans, the TCPA provides a private cause of action to persons who receive such calls. 47

U.S.C. § 227(b)(3).

       9.       Rationale: In enacting the TCPA, Congress found: “Evidence compiled by the

Congress indicates that residential telephone subscribers consider automated or prerecorded

telephone calls, regardless of the content or the initiator of the message, to be a nuisance and an

invasion of privacy.” Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat.

2394 § 2(10). Congress continued: “Banning such automated or prerecorded telephone calls to the

home, except when the receiving party consents to receiving the call or when such calls are

necessary in an emergency situation affecting the health and safety of the consumer, is the only

effective means of protecting telephone consumers from this nuisance and privacy invasion.” Id.

§ 2(12).




                                                3
          Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 4 of 26



       10.     The TCPA’s sponsor described unwanted robocalls as “the scourge of modern

civilization. They wake us up in the morning; they interrupt our dinner at night; they force the sick

and elderly out of bed; they hound us until we want to rip the telephone out of the wall.” 137 Cong.

Rec. 30,821 (1991) (statement of Sen. Hollings).

       11.     Text Messages: For TCPA purposes, a text message is a call. Latner v. Mount Sinai

Health System, Inc., 879 F.3d 52, 54 (2d Cir. 2018).

       12.     Prior Express Written Consent: In 2013, the Federal Communications Commission

(“FCC”) made clear that “prior express written consent” is required before making telemarketing

robocalls to wireless numbers. Specifically, the FCC ordered:

               [A] consumer’s written consent to receive telemarketing robocalls must be
               signed and be sufficient to show that the consumer: (1) received clear and
               conspicuous disclosure of the consequences of providing the requested
               consent, i.e., that the consumer will receive future calls that deliver
               prerecorded messages by or on behalf of a specific seller; and (2) having
               received this information, agrees unambiguously to receive such calls at a
               telephone number the consumer designates. In addition, the written
               agreement must be obtained without requiring, directly or indirectly, that
               the agreement be executed as a condition of purchasing any good or service.

       In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of
       1991, 27 FCC Rcd. 1830, 1844 ¶ 33 (2012) (footnotes omitted) (internal quotation
       marks omitted).

       13.     Do Not Call Registry: The TCPA also outlaws unsolicited telemarketing (robotexts

or otherwise) to phone numbers on the National Do Not Call Registry. 47 U.S.C. § 227(c); 47

C.F.R. § 64.1200(c)(2). Encouraging individuals to hold telemarketers accountable on behalf on

their fellow Americans, the TCPA provides a private cause of action to persons who receive such

calls. 47 U.S.C. § 227(c)(5).

       14.     Broadly Construed: As a remedial statute that was passed to protect consumers

from unwanted automated telephone calls, the TCPA is construed broadly to benefit consumers.




                                                 4
             Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 5 of 26



See Latner, 879 F.3d at 52; See also King v. Time Warner Cable, Inc., 894 F.3d 473, 474 (2d Cir.

2018).

         15.     Unfortunately, the problems Congress identified when it enacted the TCPA have

grown only worse in recent years.

         16.     According to Tom Wheeler, then-FCC Chairman, “robotexts and telemarketing

calls are currently the number one source of consumer complaints at the FCC.”1

         17.      “Month after month, unwanted [communications], both telemarketing and

informational, top the list of consumer complaints received by the [Federal Communications]

Commission.” In re Rules and Regulations Implementing the TCPA of 1991, 30 FCC Rcd. 7961,

7991 ¶ 1 (2015).

         18.      “The FTC receives more complaints about unwanted calls than all other complaints

combined.”2 In 2017, the FTC received 4,501,967 complaints about robocalls, compared with

3,401,614 in 2016. For every month in the fiscal year, robocalls made up the majority of consumer

complaints about Do Not Call violations.3

         19.     The TCPA was designed to prevent calls and messages like the ones described in

this Complaint, and to protect the privacy of citizens like Plaintiffs. “Voluminous consumer

complaints about abuses of telephone technology—for example, computerized calls dispatched to



         1
             Tom Wheeler, Cutting           off   Robotexts    (July   22,    2016),    https://www.fcc.gov/news-
events/blog/2016/07/22/cutting-robocalls.
         2
          Comment of the Staff of the Federal Trade Commission’s Bureau of Consumer Protection, In re Rules and
Regulations Implementing the TCPA of 1991, Notice of Proposed Rulemaking, CG Docket No. 02-278, at p. 2; FCC
16-57 (June 6, 2016), available at https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-
ftc-bureau-consumer-protection-federal-communications-commission-rules-
regulations/160616robocallscomment.pdf.
          3
            Federal Trade Commission, FTC Releases FY 2017 National Do Not Call Registry Data Book and DNC
Mini Site (Dec. 18, 2017), https://www.ftc.gov/news-events/press-releases/2017/12/ftc-releases-fy-2017-national-do-
not-call-registry-data-book-dnc (last visited March 11, 2020).



                                                        5
         Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 6 of 26



private homes—prompted Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S.

Ct. 740, 744 (2012).

             FACTUAL ALLEGATIONS RELATIVE TO BRIAN THOMPSON

       20.       For all times relevant herein, Mr. Thompson was the owner of a cellular telephone

line with the (216) prefix and ending in 3056.

       21.       Mr. Thompson registered the phone number referenced above on the National Do

Not Call Registry on June 25, 2009.

       22.       Mr. Thompson received a text message from Defendants on December 7, 2019,

from the number identified on his caller ID as 657-360-4652. The unsolicited robotext stated:

“Congrats Brian! Your code 7SR-K9M2 printed on your last receipt is among 7 we randomly

picked for $1,000 Walmart gift card promotion c6rzc.info/lg6RF72BTV87.”

       23.       Mr. Thompson replied “Stop.”

       24.       Defendants sent the unsolicited robotext to Mr. Thompson’s cellular telephone for

the purpose of sending Mr. Thompson spam advertisements and promotional offers, via text

messages, like those described above.

       25.       For all relevant times herein, Mr. Thompson never consented to receive phone calls

or text messages from Defendants.

       26.       For all relevant times herein, Mr. Thompson never provided his telephone number

to Defendants.

       27.       For all relevant times herein, Mr. Thompson never did business with Defendants.

             FACTUAL ALLEGATIONS RELATIVE TO ANGELA THOMPSON

       28.       For all times relevant herein, Ms. Thompson was the owner of a cellular telephone

line with the (216) prefix and ending in 4510.




                                                 6
         Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 7 of 26



       29.       Ms. Thompson registered the phone number referenced above on the National Do

Not Call Registry on June 16, 2012.

       30.       On December 24, 2019, at 9:09 a.m., Ms. Thompson received an unsolicited

robotext message from Defendants from the number identified on her caller ID as 951-391-2478.

This unsolicited message stated: “Congrats WAYNE L! Your code R5Z-M9T8 printed on your

last receipt is among 7 we randomly picked for $1,000 Walmart gift card promotion

n1xrn.info/A9lcOJ4mtGyC.”

       31.       Since December 24, 2019 until the present, Defendants have continued to send Ms.

Thompson spam advertisements and promotional offers, via unsolicited text messages.

       32.       Ms. Thompson received an unsolicited robotext from Defendants purporting to be

from Amazon, stating: “FINAL NOTICE: WAYNE L, please review your address details for

shipment ID: 7S86J3 HERE: l8cr.xyz/M5GpXbsJCe Sender: AMAZON.”

       33.       For all relevant times herein, Ms. Thompson never consented to receive phone calls

or text messages from Defendants.

       34.       For all relevant times herein, Ms. Thompson never provided her telephone number

to Defendants.

       35.       For all relevant times herein, Ms. Thompson never did business with Defendants.

                         FACTS RELATIVE TO BOTH PLAINTIFFS

       36.       Plaintiffs’ telephone numbers that Defendants texted were assigned to a cellular

telephone service.

       37.       Plaintiffs were never customers of Defendants and never provided their cellular

telephone numbers to Defendants for any reason whatsoever. Accordingly, Defendants never




                                                 7
           Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 8 of 26



received Plaintiffs’ prior express consent to receive unsolicited text messages, pursuant to 47

U.S.C. § 227 (b)(1)(A).

         38.   Each of Defendants’ text messages to Plaintiffs constitutes a violation or multiple

violations of the TCPA, including 47 U.S.C. § 227(b)(1)’s prohibition against the use of an ATDS.

         39.   Based on reviewing the text messages sent to each of the Plaintiffs, it is reasonable

to infer that the messages had been sent automatically rather than manually typed by a human for

the following reasons:

               a.        None of the messages were in response to any action either Plaintiff had

                         taken;

               b.        All of the messages came from caller IDs that neither Plaintiff recognized;

               c.        None of the messages identified the sender of the message;

               d.        With the exception of the December 7, 2019 message to Mr. Thompson,

                         none of the messages to either Plaintiff was accurately personalized;

               e.        All of the messages contained unusual punctuation or other grammatical

                         errors that would allow it to evade certain programs that block spam calls,

                         such as a missing “e” in “Rply”;

               f.        One message purported to provide opt-out instructions.

         40.   Each of the messages sent to Plaintiffs caused injury, as these messages invaded

their individual solitude, stopped their train of thought, wasted their time, caused annoyance and

harassment, and consumed the battery life and memory storage capacity of each Plaintiff’s cellular

phone.




                                                  8
             Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 9 of 26



                DEFENDANTS’ LIABILITY FOR THE MARKETING CALLS

        41.      Defendants are liable for each of the TCPA-violating robotexts under one or more

of the following theories of liability: (1) Direct Liability, (2) Actual Authority, (3) Apparent

Authority, (4) Ratification, (5) Joint Enterprise, (6) Acting in Concert, and (7) “On Behalf Of”

Liability.

                                       DIRECT LIABILITY

        42.      Defendants’ scheme involves the use of illegal robotexting of advertising and

promotional offers, as alleged herein, to advance their pecuniary or business interests.

        43.      Defendants directly initiated the unlawful robotexts to Plaintiffs and the other Class

members and are directly liable for violating the TCPA.

                                      ACTUAL AUTHORITY

        44.      The TCPA incorporates federal common law agency principles.

        45.      Defendants’ practice of outsourcing the act of executing the unlawful robotexts to

third parties (who Defendants have elsewhere referred to as “Publishers”) would not and does not

absolve them from liability under the TCPA.

        46.      On May 9, 2013, the FCC confirmed this principle in a Declaratory Ruling holding

that sellers may not avoid liability by outsourcing telemarketing:

                        [A]llowing the seller to avoid potential liability by outsourcing its
                        telemarketing activities to unsupervised third parties would leave
                        consumers in many cases without an effective remedy for
                        telemarketing intrusions. This would particularly be so if the
                        telemarketers were judgment proof, unidentifiable, or located
                        outside the United States, as is often the case. Even where third-
                        party telemarketers are identifiable, solvent, and amenable to
                        judgment, limiting liability to the telemarketer that physically places
                        the call would make enforcement in many cases substantially more
                        expensive and less efficient, since consumers (or law enforcement
                        agencies) would be required to sue each marketer separately in order
                        to obtain effective relief. As the FTC noted, because “[s]ellers may



                                                   9
         Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 10 of 26



                       have thousands of ‘independent’ marketers, suing one or a few of
                       them is unlikely to make a substantive difference for consumer
                       privacy.”

               In the Matter of the Joint Petition Filed by Dish Network, LLC, the United
               States of Am., & the States of California, Illinois. N. Carolina, & Ohio for
               Declaratory Ruling Concerning the Tel. Consumer Prot. Act (TCPA) Rules,
               28 FCC Rcd. 6574, 6588 (FCC 2013) (“Dish Network”).

       47.     Defendants signed contracts with each other and with the Publishers, authorizing

the Publishers to promote Defendants’ products or services in Ohio to Plaintiffs and across the

country to others similarly situated, on Defendants’ behalf.

       48.     By signing contracts making the Publishers authorized agents to execute unlawful

robotexts to Plaintiffs, Defendants are liable for their agents’ violations of the TCPA by unlawfully

robotexting Plaintiffs and others similarly situated.

       49.     During all relevant times, Defendants knew that the Publishers were engaged in

marketing practices constituting unlawful robotexting in the course of promoting Defendants’

products or services, in accordance with the specifications and contractual provisions agreed to by

Defendants and the Publishers. Defendants accepted, did not object to, and benefitted from the

Publishers’ violations of the TCPA.

       50.     Defendants directed and controlled the conduct of the Publishers by, inter alia,

instructing and closely controlling the content of the robotexts and contacts with Plaintiffs and

other robotext recipients, controlling and monitoring the timing, volume, direction, and manner of

the Publishers’ conduct on behalf of Defendants, establishing and enforcing guidelines and

specifications of the Publishers’ activities on behalf of Defendants, retaining rights to modify,

amend, or withdraw the Publishers’ authority to act on behalf of Defendants in sending the

unlawful robotexts, compensating the Publishers for engaging in conduct that violated the TCPA,

knowing that the Publishers engaged in conduct that violated the TCPA or instructing the



                                                 10
           Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 11 of 26



Publishers, impliedly or expressly, not to disclose information that if known by Defendants would

establish Defendants’ knowledge that the Publishers were engaged in conduct violating the TCPA,

and providing feedback to the Publishers regarding changes in practices.

       51.     Due to the anonymous nature of robotexting, Plaintiffs have no access to

information to identify the exact relationship between Defendants and the Publishers who are the

anonymous public facing arm of Defendants’ unlawful robotexting scheme.

       52.     However, Plaintiffs are not required to know this information at the pleading stage.

Dish Network states that called parties may obtain “evidence of these kinds of relationships . . .

through discovery, if they are not independently privy to such information.” 28 FCC Rcd. at 6592-

93 (¶ 46).

       53.     Defendants authorized the Publishers to send the unlawful robotexts to Plaintiffs

and the other recipients. The Publishers promoted Defendants’ business or pecuniary interests.

       54.     The Publishers acted in concert with Defendants, which permitted Defendants to

enjoy the benefits of mass robotexting while purporting to move the illegal activity outside their

purview.

                                  APPARENT AUTHORITY

       55.     Dish Network further clarifies the circumstances under which a telemarketer has

apparent authority:

                      [A]pparent authority may be supported by evidence that the seller
                      allows the outside sales entity access to information and systems that
                      normally would be within the seller’s exclusive control, including:
                      access to detailed information regarding the nature and pricing of
                      the seller’s products and services or to the seller’s customer
                      information. The ability by the outside sales entity to enter consumer
                      information into the seller’s sales or customer systems, as well as
                      the authority to use the seller’s trade name, trademark and service
                      mark may also be relevant. It may also be persuasive that the seller
                      approved, wrote or reviewed the outside entity’s telemarketing



                                                11
         Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 12 of 26



                       scripts. Finally, a seller would be responsible under the TCPA for
                       the unauthorized conduct of a third-party telemarketer that is
                       otherwise authorized to market on the seller’s behalf if the seller
                       knew (or reasonably should have known) that the telemarketer was
                       violating the TCPA on the seller’s behalf and the seller failed to take
                       effective steps within its power to force the telemarketer to cease
                       that conduct.

               28 FCC Rcd. at 6592 (¶ 46).

       56.     The integration of Defendants’ sales efforts with robotexting used by the sellers

was so seamless that it appeared to Plaintiffs that Defendants and the Publishers were acting

together as the same company.

       57.     Defendants allowed the Publishers to enter consumer information into their

systems. Indeed, robotexts sent to Plaintiffs all contained first names of consumers to which the

robotexts were apparently directed.

       58.     Defendants gave the Publishers the authority to use their websites, hyperlinks,

URLs, trade name, trademark, service mark, forms, contracts, and materials.

       59.     The apparent authority of the Publishers is illustrated by the fact that the links in

the robotexts direct called parties, including Plaintiffs, to Defendants’ websites.

                                         RATIFICATION

       60.     Defendants knowingly and actively accepted business and contacts with consumers

that originated through TCPA-violating robotexts placed by the Publishers.

       61.     Defendants ratified the Publishers’ TCPA violations by knowingly accepting the

benefit of new contacts with consumers despite the fact that these consumers were generated

through conduct that violates the TCPA. Alternatively, Defendants ratified the Publishers’ TCPA

violations by knowing facts that would cause an ordinarily prudent person to inquire as to whether

the Publishers were complying with the TCPA, or create reasonable suspicion that the Publishers




                                                 12
         Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 13 of 26



do not comply with the TCPA, willfully turning a blind eye to those facts, and accepting the benefit

of new consumer contacts despite the fact that they were generated through conduct that violates

the TCPA.

       62.     Defendants ratified the TCPA violations of the Publishers by being willfully

ignorant of the violations or by being aware that such knowledge was lacking and accepting the

benefits of the Publishers’ TCPA violations.

       63.     Defendants knew that the Publishers had been cited for TCPA violations and

generated numerous consumer complaints because of their telemarketing practices, but failed to

terminate their relationship with the Publishers, and instead continued to do business with them.

                                     JOINT ENTERPRISE

       64.     Defendants and the Publishers had a tacit agreement, or approved of after the fact,

for the marketing of Defendants’ services by means that violate the TCPA, including sending

robotexts to numbers registered on the National Do Not Call Registry and to cellular or other phone

numbers using an ATDS, all without obtaining prior express consent to engage in such conduct.

       65.     Defendants and the Publishers were part of a common enterprise and had a

community of interest in marketing and promoting Defendants’ websites, services, and products.

       66.     Defendants and the Publishers had an equal right to control the conduct thereof by

specifying the type of people to be called, when to call, and what to say in the messages and calls.

       67.     Defendants and the Publishers entered into an agreement on how the proceeds of

the unlawful activities would be apportioned among them.

       68.     Defendants and the Publishers are jointly and severally liable for the resulting

damage caused by the Publishers’ TCPA-violating conduct.




                                                13
          Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 14 of 26



                                    ACTING IN CONCERT

        69.    Defendants acted in concert with the Publishers when they sent robotexts in

violation of the TCPA, as alleged herein.

        70.    Defendants received the benefit of the consumer contacts generated by the

Publishers.

        71.    Defendants compensated the Publishers for engaging in conduct that violated the

TCPA.

        72.    Defendants and the Publishers agreed and were part of a common design to robotext

consumers in order to generate business and consumer contacts.

        73.    Defendants had a tacit understanding that the Publishers would engage in

telemarketing activity that violated the TCPA.

        74.    Defendants knew that the Publishers’ conduct was a breach of duty to Plaintiffs.

        75.    Defendants gave the Publishers substantial assistance in accomplishing the tortious

result, including compensating the Publishers for generating respondents pursuant to robotexts and

giving instructions on the content, timing, direction, volume, and manner of the text messaging

activities.

        76.    Defendants furthered the tortious conduct by their cooperation, and lending aid to

the Publishers, and adopting the Publishers’ actions for their own benefit.

        77.    Defendants’ own conduct constitutes a breach of duty to Plaintiffs.

        78.    Each Plaintiff’s injury is indivisible.

        79.    Defendants acted tortiously, and the harm resulted from the robotexting by

Defendants and the Publishers.




                                                 14
         Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 15 of 26



       80.        Defendants are all jointly and severally liable for the resulting damage caused by

the Publishers.

                                  “ON BEHALF OF” LIABILITY

       81.        The TCPA’s Do Not Call rules specifically contemplate third-party liability for Do

Not Call violations. The TCPA specifies that a person who has received more than one telephone

call within any 12-month period by or on behalf of the same entity in violation of the Do Not Call

regulations may bring an action based on such violation to enjoin further calls or recover damages.

This means that a seller may be liable for Do Not Call violations performed on its behalf, even if

the seller has no knowledge of the acts at the time they are performed.

       82.        The Publishers sent robotexts in violation of the TCPA’s Do Not Call rules to each

Plaintiff on behalf of Defendants.

                                      CLASS ALLEGATIONS

       83.        Automatic Telephone Dialing System Class: Plaintiffs bring this action pursuant

to Fed. R. Civ. P. 23, on behalf of a nationwide class of similarly situated individuals and entities

(“the ATDS Class”), defined as follows:

                  All person(s) who received one or more unsolicited text messages from
                  Defendants and/or a third party acting on Defendants’ behalf when the text
                  message was (1) not made for emergency purposes, (2) not made with the
                  person(s) express prior written consent, and (3) was sent on or after March
                  31, 2016.

                  Excluded from the ATDS Class are: (1) Defendants, Defendants’ agents,
                  subsidiaries, parents, successors, predecessors, and any entity in which
                  Defendants or its parents have a controlling interest, and those entities’
                  current and former employees, officers, and directors; (2) the Judge to
                  whom this case is assigned and the Judge’s immediate family; (3) any
                  person who executes and files a timely request for exclusion from the ATDS
                  Class; (4) any persons who have had their claims in this matter finally
                  adjudicated and/or otherwise released; and (5) the legal representatives,
                  successors and assigns of any such excluded person.




                                                  15
          Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 16 of 26



         84.   Do Not Call Class: Ms. Thompson also brings this action on behalf of a nationwide

class of similarly situated individuals and entities (the “DNC Class”), defined as follows:

               All person(s) who received more than one unsolicited text message within
               a twelve month period from Defendants and/or a third party acting on
               Defendants’ behalf where the text message (1) was sent to a telephone
               number registered with the National Do Not Call Registry prior to the text
               message being sent, (2) contained a message marketing a product or service
               of Defendants or their agents, and (3) was sent on or after March 31, 2016

               Excluded from the DNC Class are: (1) Defendants, Defendants’ agents,
               subsidiaries, parents, successors, predecessors, and any entity in which
               Defendants or its parents have a controlling interest, and those entities’
               current and former employees, officers, and directors; (2) the Judge to
               whom this case is assigned and the Judge’s immediate family; (3) any
               person who executes and files a timely request for exclusion from the DNC
               Class; (4) any persons who have had their claims in this matter finally
               adjudicated and/or otherwise released; and (5) the legal representatives,
               successors and assigns of any such excluded person.

         85.   Numerosity: Upon information and belief, the Classes are comprised of tens of

thousands of Class members. Thus, the Classes are so numerous that joinder of all members is

impracticable. Class members can easily be identified through Defendants’ records, or by other

means.

         86.   Commonality and Predominance: There are several questions of law and fact

common to the claims of Plaintiffs and Class members, which predominate over any individual

issues, including:

               a.     Whether, within the four years prior to the filing of this Complaint,

                      Defendants or their agents sent any text messages to the ATDS Class

                      members (other than a message made for emergency purposes or made with

                      the prior express written consent of the called party) using an ATDS to any

                      telephone number assigned to a cellular phone service;




                                                16
         Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 17 of 26



               b.      Whether, within the four years prior to the filing of this Complaint,

                       Defendants or their agents sent any text message to the DNC Class members

                       without obtaining the requisite prior express consent; and

               c.      Whether Defendants negligently, knowingly, or willfully engaged in

                       conduct that violated the TCPA;

               d.      Whether Plaintiffs and the Class members were damaged by Defendants’

                       violations of the TCPA, and the extent of damages for each instance in

                       which the TCPA was violated.

       87.     Typicality: Plaintiff’s claims are typical of the claims of members of the Classes.

All claims are based on the same legal and factual issues. Plaintiffs received multiple text messages

from the Defendants to their cellular phones within a twelve-month period.

       88.     Adequacy of Representation: Plaintiffs will fairly and adequately represent and

protect the interests of the members of the Classes and have retained counsel competent and

experienced in complex class actions. Plaintiffs have no interest antagonistic to those of members

of the Classes and Defendants have no defenses unique to Plaintiffs. The questions of law and fact

common to the proposed Classes predominate over any questions affecting only individual

members of the Classes.

       89.     Superiority: A class action is superior to other available methods for the fair and

efficient adjudication of this controversy. The expense and burden of individual litigation would

make it impracticable or impossible for proposed members of the Classes to prosecute their claims

individually. The trial and the litigation of Plaintiffs’ claims are manageable.




                                                 17
         Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 18 of 26



                                        COUNT ONE
               Negligent Violations of the Telephone Consumer Protection Act
                                    47 U.S.C. § 227, et seq.
                      (On behalf of the Plaintiffs and the ATDS Class)

        90.     Plaintiffs incorporate by reference paragraphs 1-89 of this Complaint as though

fully stated herein.

        91.     Based on the allegations above herein, Defendants or their agents violated the

TCPA, 47 U.S.C. § 227(b)(1), by placing non-emergency calls (including text messages) to the

cellular telephone numbers of Plaintiffs and members of the ATDS Class using an ATDS and/or

artificial or prerecorded voice without obtaining prior express written consent.

        92.     The foregoing acts and omissions of Defendants constitute numerous and multiple

negligent violations of the TCPA, including but not limited to each and every one of the above-

cited provisions of 47 U.S.C. § 227, et seq.

        93.     As a result of Defendants’ negligent violations of 47 U.S.C. § 227, et seq., Plaintiffs

and the ATDS Class are entitled to an award of $500.00 in statutory damages for each violation of

the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B).

        94.     Plaintiffs and the ATDS Class are also entitled to and seek injunctive relief

prohibiting such conduct in the future.

                                     COUNT TWO
         Knowing and Willful Violations of the Telephone Consumer Protection Act
                                 47 U.S.C. § 227, et seq.
                    (On behalf of the Plaintiffs and the ATDS Class)

        95.     Plaintiffs incorporate by reference paragraphs 1-89 of this Complaint as though

fully stated herein.

        96.     Based on the allegations herein, Defendants or their agents knowingly and/or

willfully violated the TCPA, 47 U.S.C. § 227(b)(1), by placing non-emergency calls (including




                                                  18
         Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 19 of 26



text messages) to the cellular telephone numbers of Plaintiffs and members of the ATDS Class

using an ATDS and/or artificial or prerecorded voice without prior express written consent.

       97.     The foregoing acts and omissions of Defendants constitute numerous and multiple

knowing and/or willful violations of the TCPA, including but not limited to each and every one of

the above-cited provisions of 47 U.S.C. § 227, et seq.

       98.     As a result of Defendants’ knowing and/or willful violations of 47 U.S.C. § 227, et

seq., Plaintiffs and the ATDS Class are entitled to an award of $1,500.00 in statutory damages for

each violation of the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                      COUNT THREE
              Negligent Violations of the Telephone Consumer Protection Act
                                   47 U.S.C. § 227, et seq.
                     (On Behalf of Ms. Thompson and the DNC Class)

       99.     Ms. Thompson (“Plaintiff” for purposes of this Count Three) incorporates by

reference paragraphs 1-89 of this Complaint as though fully stated herein.

       100.    Based on the allegations herein, Defendants or their agents violated the TCPA, 47

U.S.C. § 227(c) and 47 C.F.R. § 64.1200(c)(2), by placing unsolicited telemarketing calls

(including text messages) to the telephone numbers of Plaintiff and members of the DNC Class

even though those numbers were at all relevant times listed on the National Do Not Call Registry.

       101.    Plaintiff and members of the DNC Class seek an award of $500 in damages for

each such violation. 47 U.S.C. § 227(c)(5)(B).

       102.    Plaintiff and members of the DNC Class are also entitled to and do seek an

injunction prohibiting Defendants and Defendants’ agents from violating the TCPA, 47 U.S.C. §

227(c) and 47 C.F.R. § 64.1200(c)(2), by placing unsolicited telemarketing calls (including text

messages) to any telephone numbers on the National Do Not Call Registry.




                                                 19
         Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 20 of 26



                                     COUNT FOUR
         Knowing and Willful Violations of the Telephone Consumer Protection Act
                                    47 U.S.C. § 227(c)
                     (On Behalf of the Plaintiffs and the DNC Class)

        103.    Ms. Thompson (“Plaintiff” for purposes of this Count Four) incorporates by

reference paragraphs 1-89 of this Complaint as though fully stated herein.

        104.    Based on the allegations herein, Defendants knowingly and/or willfully violated the

TCPA, 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(c)(2), by placing unsolicited telemarketing calls

(including text messages) to the telephone numbers of Plaintiff and members of the DNC Class

even though those numbers were listed on the National Do Not Call Registry.

        105.    The foregoing acts and omissions of Defendants constitute numerous and multiple

knowing and/or willful violations of the TCPA, including but not limited to each and every one of

the above-cited provisions of 47 U.S.C. § 227, et seq.

        106.    Plaintiff and members of the DNC Class are entitled to and seek an award of up to

$1,500 in damages for each such violation. 47 U.S.C. § 227(c)(5).

                                        COUNT FIVE
         Violation of the Consumer Fraud and Deceptive Trade Practices Acts of the
                           Various States and District of Columbia
                         (On Behalf of Plaintiffs and the ATDS Class)

        107.    Plaintiffs incorporate by reference paragraphs 1–89 of this Complaint as though

fully set forth herein.

        108.    Plaintiffs brings this Count individually, and on behalf of all similarly situated

residents of each of the 50 states and the District of Columbia for violations of the respective

statutory consumer protection laws, as follows:

                a.        the Alabama Deceptive Trade Practices Act, Ala.Code 1975, § 8–19–1, et

                          seq.;




                                                  20
Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 21 of 26



    b.    the Alaska Unfair Trade Practices and Consumer Protection Act, AS §

          45.50.471, et seq.;

    c.    the Arizona Consumer Fraud Act, A.R.S §§ 44-1521, et seq.;

    d.    the Arkansas Deceptive Trade Practices Act, Ark.Code §§ 4-88-101, et seq.;

    e.    the California Unfair Competition Law, Cal.Bus. & Prof. Code §§17200, et

          seq. and 17500 et seq.;

    f.    the California Consumers Legal Remedies Act, Civil Code §§1750, et seq.;

    g.    the Colorado Consumer Protection Act, C.R.S.A. §6-1-101, et seq.;

    h.    the Connecticut Unfair Trade Practices Act, C.G.S.A. § 42-110a, et seq.;

    i.    the Delaware Consumer Fraud Act, 6 Del. C. § 2511, et seq.;

    j.    the D.C. Consumer Protection Procedures Act, DC Code § 28-3901, et seq.;

    k.    the Florida Deceptive and Unfair Trade Practices Act, FSA § 501.201, et

          seq.;

    l.    the Georgia Fair Business Practices Act, OCGA § 10-1-390, et seq.;

    m.    the Hawaii Unfair Competition Law, H.R.S. § 480-1, et seq.;

    n.    the Idaho Consumer Protection Act, I.C. § 48-601, et seq.;

    o.    the Illinois Consumer Fraud and Deceptive Business Practices Act, 815

          ILCS 501/1 et seq.;

    p.    the Indiana Deceptive Consumer Sales Act, IN ST § 24-5-0.5-2, et seq.;

    q.    The Iowa Private Right of Action for Consumer Frauds Act, Iowa Code

          Ann. § 714H.1, et seq.;

    r.    the Kansas Consumer Protection Act, K.S.A. § 50-623, et seq.;

    s.    the Kentucky Consumer Protection Act, KRS 367.110, et seq.;




                                    21
Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 22 of 26



    t.    the Louisiana Unfair Trade Practices and Consumer Protection Law, LSA-

          R.S. 51:1401, et seq.;

    u.    the Maine Unfair Trade Practices Act, 5 M.R.S.A. § 205-A, et seq.;

    v.    the Maryland Consumer Protection Act, MD Code, Commercial Law, § 13-

          301, et seq.;

    w.    the Massachusetts Regulation of Business Practices for Consumers

          Protection Act, M.G.L.A. 93A, et seq.;

    x.    the Michigan Consumer Protection Act, M.C.L.A. 445.901, et seq.;

    y.    the Minnesota Prevention of Consumer Fraud Act, Minn. Stat. § 325F.68,

          et seq.;

    z.    the Mississippi Consumer Protection Act, Miss. Code Ann. § 75-24-1, et

          seq.;

    aa.   the Missouri Merchandising Practices Act, V.A.M.S. § 407.010, et seq.;

    bb.   the Montana Unfair Trade Practices and Consumer Protection Act of 1973,

          Mont. Code Ann. § 30-14-101, et seq.;

    cc.   the Nebraska Consumer Protection Act, Neb.Rev.St. §§ 59-1601, et seq.;

    dd.   the Nevada Deceptive Trade Practices Act, N.R.S. 41.600, et seq.;

    ee.   the New Hampshire Regulation of Business Practices for Consumer

          Protection, N.H.Rev.Stat. § 358-A:1, et seq.;

    ff.   the New Jersey Consumer Fraud Act, N.J.S.A. 56:8, et seq.;

    gg.   the New Mexico Unfair Practices Act, N.M.S.A. §§ 57-12-1, et seq.;

    hh.   the New York Consumer Protection from Deceptive Acts and Practices,

          N.Y. GBL (McKinney) § 349, et seq.;




                                   22
Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 23 of 26



    ii.   the North Carolina Unfair and Deceptive Trade Practices Act, N.C. Gen

          Stat. § 75-1.1, et seq.;

    jj.   the North Dakota Consumer Fraud Act, N.D. Cent.Code Chapter 51-15, et

          seq.;

    kk.   the Ohio Consumer Sales Practices Act, R.C. 1345.01, et seq.;

    ll.   the Oklahoma Consumer Protection Act, 15 O.S.2001, §§ 751, et seq.;

    mm.   the Oregon Unlawful Trade Practices Act, ORS 646.605, et seq.;

    nn.   the Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73

          P.S. § 201-1, et seq.;

    oo.   the Rhode Island Deceptive Trade Practices Act, G.L.1956 § 6-13.1-5.2(B),

          et seq.;

    pp.   the South Carolina Unfair Trade Practices Act, SC Code 1976, §§ 39-5-10,

          et seq.;

    qq.   the South Dakota Deceptive Trade Practices and Consumer Protection Act,

          SDCL § 37-24-1, et seq.;

    rr.   the Tennessee Consumer Protection Act, T.C.A. § 47-18-101, et seq.;

    ss.   the Texas Deceptive Trade Practices-Consumer Protection Act, V.T.C.A.,

          Bus. & C. § 17.41, et seq.;

    tt.   the Utah Consumer Sales Practices Act, UT ST § 13-11-1, et seq.;

    uu.   the Vermont Consumer Fraud Act, 9 V.S.A. § 2451, et seq.;

    vv.   the Virginia Consumer Protection Act of 1977, VA ST § 59.1-196, et seq.;

    ww.   the Washington Consumer Protection Act, RCW 19.86.010, et seq.;




                                     23
         Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 24 of 26



               xx.    the West Virginia Consumer Credit And Protection Act, W.Va.Code § 46A-

                      1-101, et seq.;

               yy.    the Wisconsin Deceptive Trade Practices Act, Wis.Stat. § 100, et seq.; and

               zz.    the Wyoming Consumer Protection Act, Wy. Stat. § 40-12-101, et seq.

       109.    The Defendants have engaged in unfair and deceptive acts or practices by sending

unsolicited text messages without obtaining prior express consent.

       110.    The above-described deceptive and unfair acts and practices were used or employed

in the conduct of trade or commerce.

       111.    The above-described deceptive and unfair acts offend public policy and cause

substantial injury to consumers.

       112.    As a direct and proximate result of these unfair and unconscionable commercial

practices, and as described above, Plaintiffs and the members of the ATDS Class have suffered

damages. Plaintiffs, individually, and on behalf of the ATDS Class, as applicable, seek actual

damages and punitive damages, along with reasonable attorney’s fees and costs.

       113.    The substantial injury outweighs any benefit to consumers or competition that may

result from the Defendants’ omissions and unfair practices.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually, and on behalf of all others similarly situated, pray

for an Order as follows:

               A.     Finding that this action satisfies the prerequisites for maintenance as a class
                      action and certifying the Classes defined herein;

               B.     Designating each Plaintiff as representative of the Classes and their
                      undersigned counsel as Class Counsel;

               C.     Entering judgment in favor of Plaintiffs and the Classes and against
                      Defendants, jointly and severally;



                                                24
       Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 25 of 26




             D.      Awarding Plaintiffs and the Classes actual damages, statutory damages,
                     treble damages, and punitive damages, and all other forms of available
                     relief;

             E.      Entering an injunction enjoining Defendants from sending further
                     unsolicited text messages;

             F.      Awarding Class Counsel attorney’s fees and costs, including interest
                     thereon, as allowed by law; and

             G.      Granting all such further and other relief as the Court deems just and
                     appropriate.

                                       JURY DEMAND

      Plaintiffs demand a trial by jury on all counts so triable.


DATED: March 31, 2020                        Respectfully submitted,

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                                                25
Case 1:20-cv-02680-VSB Document 1 Filed 03/31/20 Page 26 of 26



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                              26
